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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 JAMES MCGONNIGAL and
 BRIAN F. SPECTOR, individually
 and on behalf of all others similarly
 situated,
                                                        Case No.
                   Plaintiffs,

 v.


 EQUIFAX, INC.,

                   Defendant.



               PLAINTIFFS’ CLASS ACTION COMPLAINT

      Plaintiffs James McGonnigal and Brian F. Spector (hereinafter, collectively,

“Plaintiffs”), individually and on behalf of the Classes defined below, allege the

following against Equifax, Inc. (“Equifax”) based upon personal knowledge with

respect to themselves and on information and belief derived from, among other

things, investigation of counsel and review of public documents as to all other

matters:
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                             NATURE OF THE CASE

      1.       Plaintiffs bring this class action case against Defendant Equifax for its

gargantuan failures to secure and safeguard consumers’ personally identifiable

information (“PII”) which Equifax collected from various sources in connection with

the operation of its business as a consumer credit reporting agency, and for failing to

provide timely, accurate and adequate notice to Consumer Plaintiffs and other Class

members that their PII had been stolen and precisely what types of information were

stolen.

      2.      Equifax has acknowledged that a cybersecurity incident (“Data

Breach”) potentially impacting approximately 143 million U.S. consumers. It has

also acknowledged that unauthorized persons exploited a U.S. website application

vulnerability to gain access to certain files. Equifax claims that based on its

investigation, the unauthorized access occurred from mid-May through July 2017.

The information accessed primarily includes names, Social Security numbers, birth

dates, addresses and, in some instances, driver's license numbers. In addition,

Equifax has admitted that credit card numbers for approximately 209,000 U.S.

consumers, and certain dispute documents with personal identifying information for

approximately 182,000 U.S. consumers, were accessed.




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      3.     Equifax has acknowledged that it discovered the unauthorized access

on July 29 2017, but has failed to inform the public why it delayed notification of

the Data Breach to consumers. Instead, Equifax executives sold at least $1.8 million

worth of shares before the public disclosure of the breach. It has been reported that

its Chief Financial Officer John Gamble sold shares worth $946,374, its president of

U.S. information solutions, Joseph Loughran, exercised options to dispose of stock

worth $584,099, and its president of workforce solutions, Rodolfo Ploder, sold

$250,458 of stock on August 2, 2017.

      4.     The PII for Plaintiffs and the class of consumers they seek to represent

was compromised due to Equifax’s acts and omissions and their failure to properly

protect the PII.

      5.     Equifax could have prevented this Data Breach. Data breaches at other

companies, including one of its major competitors, Experian have occurred.

      6.     The Data Breach was the inevitable result of Equifax’s inadequate

approach to data security and the protection of the PII that it collected during the

course of its business.

      7.     Equifax disregarded the rights of Plaintiffs and Class members by

intentionally, willfully, recklessly, or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected, failing to disclose to

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its customers the material fact that it did not have adequate computer systems and

security practices to safeguard PII, failing to take available steps to prevent and stop

the breach from ever happening, and failing to monitor and detect the breach on a

timely basis.

      8.        As a result of the Equifax Data Breach, the PII of the Plaintiffs and

Class members has been exposed to criminals for misuse. The injuries suffered by

Plaintiffs and Class members, or likely to be suffered by Plaintiffs and Class

members as a direct result of the Equifax Data Breach include:

     a.         unauthorized use of their PII;

     b.         theft of their personal and financial information;

     c.         costs associated with the detection and prevention of identity theft and

                unauthorized use of their financial accounts;

     d.         damages arising from the inability to use their PII;

     e.         loss of use of and access to their account funds and costs associated with

                inability to obtain money from their accounts or being limited in the

                amount of money they were permitted to obtain from their accounts,

                including missed payments on bills and loans, late charges and fees, and

                adverse effects on their credit including decreased credit scores and

                adverse credit notations;

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     f.       costs associated with time spent and the loss of productivity or the

              enjoyment of one’s life from taking time to address and attempt to

              ameliorate, mitigate and deal with the actual and future consequences of

              the Data Breach, including finding fraudulent charges, purchasing credit

              monitoring and identity theft protection services, and the stress,

              nuisance and annoyance of dealing with all issues resulting from the

              Equifax Data Breach;

     g.       the imminent and certainly impending injury flowing from potential

              fraud and identify theft posed by their PII being placed in the hands of

              criminals and already misused via the sale of Plaintiffs’ and Class

              members’ information on the Internet black market;

     h.       damages to and diminution in value of their PII entrusted to Equifax for

              the sole purpose of purchasing products and services from Equifax; and

      i.      the loss of Plaintiff’s and Class members’ privacy.

      9.      The injuries to the Plaintiffs and Class members were directly and

proximately caused by Equifax’s failure to implement or maintain adequate data

security measures for PII.

      10.     Further, Plaintiffs retain a significant interest in ensuring that their PII,

which, while stolen, remains in the possession of Equifax is protected from further

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breaches, and seek to remedy the harms they have suffered on behalf of themselves

and similarly situated consumers whose PII was stolen as a result of the Equifax Data

Breach.

      11.     Plaintiffs bring this action to remedy these harms on behalf of

themselves and all similarly situated individuals whose PII was accessed during the

Data Breach. Plaintiffs seek the following remedies, among others: statutory damages

under the Fair Credit Reporting Act (“FCRA”) and state consumer protection

statutes, reimbursement of out-of-pocket losses, other compensatory damages,

further and more robust credit monitoring services with accompanying identity theft

insurance, and injunctive relief including an order requiring Equifax to implement

improved data security measures.

                            JURISDICTION AND VENUE

      12.     This Court has subject matter jurisdiction over this action under the

Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy

exceeds $5 million exclusive of interest and costs. There are more than 100 putative

class members. And, at least some members of the proposed Class have a different

citizenship from Equifax.

      13.     This Court has personal jurisdiction over Equifax because Equifax

maintains its principal place of business in Georgia, regularly conducts business in

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Georgia, and has sufficient minimum contacts in Georgia. Equifax intentionally

availed itself of this jurisdiction by marketing and selling products and services and

by accepting and processing payments for those products and services within

Georgia.

      14.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because

Equifax ’s principal place of business is in this District and a substantial part of the

events, acts, and omissions giving rise to Plaintiffs’ claims occurred in this District.

                                         PARTIES

      15.    Plaintiff James McGonnigal is a resident of the state of Maryland.

Plaintiff is a victim of the Data Breach. Plaintiff McGonnigal has recently had four

credit accounts opened in his name without his authorization. He has also had

multiple credit inquiries, which can have an adverse effect on his credit score.

      16.    Plaintiff Brian F. Spector is a resident of the state of Florida. He is a

victim of the Data Breach. Plaintiff Spector has spent time and effort monitoring his

financial accounts.

      17.    Defendant Equifax, Inc. is a Delaware corporation with its principal

place of business located at 1550 Peachtree Street NE Atlanta, Georgia 30309.

Equifax, Inc. may be served through its registered agent, Shawn Baldwin, at its

principal office address identified above.

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                                STATEMENT OF FACTS

      18.     Equifax is one of three nationwide credit-reporting companies that track

and rates the financial history of U.S. consumers. The companies are supplied with

data about loans, loan payments and credit cards, as well as information on everything

from child support payments, credit limits, missed rent and utilities payments,

addresses and employer history. All this information, and more factors into credit

scores.

      19.     Unlike other data breaches, not all of the people affected by the Equifax

breach may be aware that they are customers of the company. Equifax gets its data

from credit card companies, banks, retailers, and lenders who report on the credit

activity of individuals to credit reporting agencies, as well as by purchasing public

records.

      20.     According to Equifax’s report on September 7, 2017, the breach

was discovered on July 29th. The perpetrators gained access by "[exploiting] a [...]

website application vulnerability" on one of the company's U.S.-based servers. The

hackers were then able to retrieve "certain files."




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      21.     Included among those files was a treasure trove of personal data: names,

dates of birth, Social Security numbers and addresses. In some cases -- Equifax states

around 209,000 -- the records also included actual credit card numbers.

Documentation about disputed charges was also leaked. Those documents contained

additional personal information on around 182,000 Americans.

      22.     Personal data like this is a major score for cybercriminals who will likely

look to capitalize on it by launching targeted phishing campaigns.

      23.     Plaintiffs suffered actual injury in the form of damages to and

diminution in the value of their PII – a form of intangible property that Plaintiffs

entrusted to Equifax and that was compromised in and as a result of the Equifax Data

Breach.

      28.     Additionally, Plaintiffs has suffered imminent and impending injury

arising from the substantially increased risk of future fraud, identity theft and misuse

posed by their PII being placed in the hands of criminals who have already, or will

imminently, misuse such information.

      29.     Moreover, Plaintiffs has a continuing interest in ensuring that their

private information, which remains in the possession of Equifax, is protected and

safeguarded from future breaches.




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      24.    At all relevant times, Equifax was well-aware, or reasonably should

have been aware, that the PII collected, maintained and stored in the POS systems is

highly sensitive, susceptible to attack, and could be used for wrongful purposes by

third parties, such as identity theft and fraud.

      25.    It is well known and the subject of many media reports that PII is highly

coveted and a frequent target of hackers. Despite the frequent public announcements

of data breaches of corporate entities, including Experian, Equifax maintained an

insufficient and inadequate system to protect the PII of Plaintiffs and Class members.

      26.    PII is a valuable commodity because it contains not only payment card

numbers but PII as well. A “cyber blackmarket” exists in which criminals openly post

stolen payment card numbers, social security numbers, and other personal

information on a number of underground Internet websites. PII is “as good as gold”

to identity thieves because they can use victims’ personal data to open new financial

accounts and take out loans in another person’s name, incur charges on existing

accounts, or clone ATM, debit, or credit cards.

      27.    Legitimate organizations and the criminal underground alike recognize

the value in PII contained in a merchant’s data systems; otherwise, they would not

aggressively seek or pay for it. For example, in “one of 2013’s largest breaches . . .




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not only did hackers compromise the [card holder data] of three million customers,

they also took registration data [containing PII] from 38 million users.”1

      28.    At all relevant times, Equifax knew, or reasonably should have known,

of the importance of safeguarding PII and of the foreseeable consequences that would

occur if its data security system was breached, including, specifically, the significant

costs that would be imposed on individuals as a result of a breach.

      29.    Equifax was, or should have been, fully aware of the significant number

of people whose PII it collected, and thus, the significant number of individuals who

would be harmed by a breach of Equifax’s systems.

      30.    Unfortunately, and as alleged below, despite all of this publicly

available knowledge of the continued compromises of PII in the hands of other third

parties, Equifax’s approach to maintaining the privacy and security of the PII of

Plaintiffs and Class members was lackadaisical, cavalier, reckless, or at the very

least, negligent.


      31.    The ramifications of Equifax’s failure to keep Plaintiffs’ and Class

members’ data secure are severe.



1
 Verizon 2014 PCI Compliance Report, available at:
http://www.cisco.com/c/dam/en_us/solutions/industries/docs/retail/verizon_pci201
4.pdf (hereafter “2014 Verizon Report”), at 54 (last visited April 10, 2017).
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      32.    The FTC defines identity theft as “a fraud committed or attempted using

the identifying information of another person without authority.” 2         The FTC

describes “identifying information” as “any name or number that may be used, alone

or in conjunction with any other information, to identify a specific person.” 3

      33.    Personal identifying information is a valuable commodity to identity

thieves once the information has been compromised. As the FTC recognizes, once

identity thieves have personal information, “they can drain your bank account, run

up your credit cards, open new utility accounts, or get medical treatment on your

health insurance.” 4

      34.    Identity thieves can use personal information, such as that of Plaintiffs

and Class members which Equifax failed to keep secure, to perpetrate a variety of

crimes that harm victims. For instance, identity thieves may commit various types

of government fraud such as: immigration fraud; obtaining a driver’s license or

identification card in the victim’s name but with another’s picture; using the victim’s

information to obtain government benefits; or filing a fraudulent tax return using the

victim’s information to obtain a fraudulent refund.


2
  17 C.F.R § 248.201 (2013).
3
  Id.
4
  Federal Trade Commission, Warning Signs of Identity Theft, available at:
https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft (last
visited April 10, 2017).
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      35.    Javelin Strategy and Research reports that identity thieves have stolen

$112 billion in the past six years. 5

      36.    Reimbursing a consumer for a financial loss due to fraud does not make

that individual whole again. On the contrary, identity theft victims must spend

numerous hours and their own money repairing the impact to their credit. After

conducting a study, the Department of Justice’s Bureau of Justice Statistics (“BJS”)

found that identity theft victims “reported spending an average of about 7 hours

clearing up the issues” and resolving the consequences of fraud in 2014. 6

      37.    There may be a time lag between when harm occurs versus when it is

discovered, and also between when PII or PCD is stolen and when it is used.

According to the U.S. Government Accountability Office (“GAO”), which

conducted a study regarding data breaches:

      [L]aw enforcement officials told us that in some cases, stolen data may
      be held for up to a year or more before being used to commit identity
      theft. Further, once stolen data have been sold or posted on the Web,
      fraudulent use of that information may continue for years. As a result,
      studies that attempt to measure the harm resulting from data breaches
      cannot necessarily rule out all future harm. 7


5
  See https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-
hits-inflection-point (last visited April 10, 2017).
6
  Victims of Identity Theft, 2014 (Sept. 2015) available at:
http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited April 10, 2017).
7
  GAO, Report to Congressional Requesters, at 29 (June 2007), available at
http://www.gao.gov/new.items/d07737.pdf (last visited April 10, 2017).
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       38.      Plaintiffs and Class members now face years of constant surveillance

of their financial and personal records, monitoring, and loss of rights. The Class is

incurring and will continue to incur such damages in addition to any fraudulent use

of their PII.

       39.      The PII of Plaintiffs and Class members is private and sensitive in

nature and was left inadequately protected by Equifax. Equifax did not obtain

Plaintiffs’ and Class members’ consent to disclose their PII to any other person as

required by applicable law and industry standards.

       40.      The Equifax Data Breach was a direct and proximate result of Equifax’s

failure to properly safeguard and protect Plaintiffs’ and Class members’ PII from

unauthorized access, use, and disclosure, as required by various state and federal

regulations, industry practices, and the common law, including Equifax’s failure to

establish and implement appropriate administrative, technical, and physical

safeguards to ensure the security and confidentiality of Plaintiffs’ and Class

members’ PII to protect against reasonably foreseeable threats to the security or

integrity of such information.

       41.      Equifax had the resources to prevent a breach, but neglected to

adequately invest in data security, despite the growing number of well-publicized

data breaches.

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      42.    Had Equifax remedied the deficiencies in its data security systems,

followed security guidelines, and adopted security measures recommended by

experts in the field, Equifax would have prevented the Data Breach and, ultimately,

the theft of its customers’ PII.

      43.    As a direct and proximate result of Equifax’s wrongful actions and

inaction and the resulting Data Breach, Plaintiffs and Class members have been

placed at an imminent, immediate, and continuing increased risk of harm from

identity theft and identity fraud, requiring them to take the time which they otherwise

would have dedicated to other life demands such as work and effort to mitigate the

actual and potential impact of the Data Breach on their lives including, inter alia, by

placing “freezes” and “alerts” with credit reporting agencies, contacting their

financial institutions, closing or modifying financial accounts, closely reviewing and

monitoring their credit reports and accounts for unauthorized activity, and filing

police reports. This time has been lost forever and cannot be recaptured. In all

manners of life in this country, time has constantly been recognized as compensable,

for many consumers it is the way they are compensated, and even if retired from the

work force, consumers should be free of having to deal with the consequences of a

credit reporting agency’s slippage, as is the case here.




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      44.   Equifax’s wrongful actions and inaction directly and proximately

caused the theft and dissemination into the public domain of Plaintiffs’ and Class

members’ PII, causing them to suffer, and continue to suffer, economic damages and

other actual harm for which they are entitled to compensation, including:

      a.    theft of their personal and financial information;

      b.    unauthorized charges on their debit and credit card accounts;

      c.    the imminent and certainly impending injury flowing from potential

            fraud and identity theft posed by their PII being placed in the hands of

            criminals and already misused via the sale of Plaintiffs’ and Class

            members’ information on the black market;

      d.    the untimely and inadequate notification of the Data Breach;

      e.    the improper disclosure of their PII;

      f.    loss of privacy;

      g.    ascertainable losses in the form of out-of-pocket expenses and the value

            of their time reasonably incurred to remedy or mitigate the effects of

            the Data Breach;

      h.    ascertainable losses in the form of deprivation of the value of their PII

            and PCD, for which there is a well-established national and

            international market;

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      i.    ascertainable losses in the form of the loss of cash back or other benefits

            as a result of their inability to use certain accounts and cards affected

            by the Data Breach;

      j.    loss of use of and access to their account funds and costs associated

            with the inability to obtain money from their accounts or being limited

            in the amount of money they were permitted to obtain from their

            accounts, including missed payments on bills and loans, late charges

            and fees, and adverse effects on their credit including adverse credit

            notations; and,

      k.    the loss of productivity and value of their time spent to address attempt

            to ameliorate, mitigate and deal with the actual and future consequences

            of the data breach, including finding fraudulent charges, cancelling and

            reissuing cards, purchasing credit monitoring and identity theft

            protection services, imposition of withdrawal and purchase limits on

            compromised accounts, and the stress, nuisance and annoyance of

            dealing with all such issues resulting from the Data Breach.

      45.   Equifax has not offered customers any meaningful credit monitoring or

identity theft protection services, despite the fact that it is well known and

acknowledged by the government that damage and fraud from a data breach can take

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years to occur. As a result, Plaintiffs and Class members are left to their own actions

to protect themselves from the financial damage Equifax has allowed to occur. The

additional cost of adequate and appropriate coverage, or insurance, against the losses

and exposure that Equifax’s actions have created for Plaintiffs and Class members,

is ascertainable and is a determination appropriate for the trier of fact. Equifax has

also not offered to cover any of the damages sustained by Plaintiffs or Class

members.

      46.    While the PII of Plaintiffs and members of the Class has been stolen,

Equifax continues to hold PII of consumers, including Plaintiffs and Class members.

Particularly because Equifax and has demonstrated an inability to prevent a breach

or stop it from continuing even after being detected, Plaintiffs and members of the

Class have an undeniable interest in insuring that their PII is secure, remains secure,

is properly and promptly destroyed and is not subject to further theft.

                                CHOICE OF LAW

      47.    Georgia, which seeks to protect the rights and interests of Georgia and

other U.S. residents against a company doing business in Georgia, has a greater

interest in the claims of Plaintiffs and the Class members than any other state and is

most intimately concerned with the claims and outcome of this litigation.




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         48.   The principal place of business of Equifax, located at 1550 Peachtree

Street NE Atlanta, Georgia 30309, is the “nerve center” of its business activities –

the place where its high-level officers direct, control, and coordinate the corporation’s

activities, including its data security, and where: a) major policy, b) advertising, c)

distribution, d) accounts receivable departments and e) financial and legal decisions

originate.

         49.   Furthermore, Equifax’s response to, and corporate decisions

surrounding such response to, the Data Breach were made from and in Georgia.

         50.   Equifax’s breach of its duty to customers, and Plaintiffs, emanated from

Georgia.

         51.   Application of Georgia law to a nationwide Class with respect to

Plaintiffs’ and the Class members’ claims is neither arbitrary nor fundamentally

unfair because Georgia has significant contacts and a significant aggregation of

contacts that create a state interest in the claims of the Plaintiffs and the nationwide

Class.

         52.   Further, under Georgia’s choice of law principles, which are applicable

to this action, the common law of Georgia will apply to the common law claims of

all Class members.




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                             CLASS ALLEGATIONS

      53.    Plaintiffs seeks relief on behalf of themselves and as representatives of

all others who are similarly situated. Pursuant to Fed. R. Civ. P. 23(a), (b)(2), (b)(3)

and (c)(4), Plaintiffs seeks certification of a Nationwide class defined as follows:

      All persons residing in the United States whose personally identifiable
      information was acquired by unauthorized persons in the data breach
      announced by Equifax in September 2017 (the “Nationwide Class”).

      54.    Pursuant to Fed. R. Civ. P. 23, and in the alternative to claims asserted

on behalf of the Nationwide Class, Plaintiffs assert claims under the laws of the

individual States, and on behalf of separate statewide classes, defined as follows:

      All persons residing in [STATE] whose personally identifiable
      information was acquired by unauthorized persons in the data breach
      announced by Equifax in September 2017 (the “Statewide Classes”).

      55.    Excluded from each of the above Classes are Equifax and any of its

affiliates, parents or subsidiaries; all employees of Equifax; all persons who make a

timely election to be excluded from the Class; government entities; and the judges to

whom this case is assigned and their immediate family and court staff.

      56.     Plaintiffs hereby reserve the right to amend or modify the class

definition with greater specificity or division after having had an opportunity to

conduct discovery.




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      57.    Each of the proposed Classes meets the criteria for certification under

Federal Rule of Civil Procedure 23(a), (b)(2), (b)(3) and (c)(4).

      58.    Numerosity. Fed. R. Civ. P. 23(a)(1). Consistent with Rule 23(a)(1),

the members of the Class are so numerous and geographically dispersed that the

joinder of all members is impractical. While the exact number of Class members is

unknown to Plaintiffs at this time, the proposed Class include at least 143 million

individuals whose PII was compromised in the Equifax Data Breach. Class members

may be identified through objective means. Class members may be notified of the

pendency of this action by recognized, Court-approved notice dissemination

methods, which may include U.S. mail, electronic mail, internet postings, and/or

published notice.

      59.    Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). Consistent with

Fed. R. Civ. P. 23(a)(2) and with 23(b)(3)’s predominance requirement, this action

involves common questions of law and fact that predominate over any questions

affecting individual Class members. The common questions include:

      a.     Whether Equifax had a duty to protect PII;

      b.     Whether Equifax knew or should have known of the susceptibility of

             their data security systems to a data breach;




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      c.    Whether Equifax’s security measures to protect their systems were

            reasonable in light of the measures recommended by data security

            experts;

      d.    Whether Equifax was negligent in failing to implement reasonable and

            adequate security procedures and practices;

      e.    Whether Equifax’s failure to implement adequate data security

            measures allowed the breach to occur;

      f.    Whether Equifax’s conduct constituted deceptive trade practices under

            Georgia law;

      g.    Whether Equifax’s conduct, including their failure to act, resulted in or

            was the proximate cause of the breach of its systems, resulting in the

            loss of the PII of Plaintiffs and Class members;

      h.    Whether Plaintiffs and Class members were injured and suffered

            damages or other acceptable losses because of Equifax’s failure to

            reasonably protect its POS systems and data network; and,

      i.    Whether Plaintiffs and Class members are entitled to relief.

      60.   Typicality. Fed. R. Civ. P. 23(a)(3). Consistent with Fed. R. Civ. P.

23(a)(3), Plaintiffs’ claims are typical of those of other Class members. Plaintiffs

had their PII compromised in the Data Breach. Plaintiffs’ damages and injuries are

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akin to other Class members and Plaintiffs seeks relief consistent with the relief of

the Class.

      61.    Adequacy. Fed. R. Civ. P. 23(a)(4). Consistent with Fed. R. Civ. P.

23(a)(4), Plaintiffs are adequate representatives of the Class because Plaintiffs are

members of the Class and are committed to pursuing this matter against Equifax to

obtain relief for the Class. Plaintiffs have no conflicts of interest with the Class.

Plaintiffs’ Counsel are competent and experienced in litigating class actions,

including privacy litigation. Plaintiffs intend to vigorously prosecute this case and

will fairly and adequately protect the Class’ interests.

      62.    Superiority. Fed. R. Civ. P. 23(b)(3). Consistent with Fed. R. Civ. P

23(b)(3), a class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be

encountered in the management of this class action. The quintessential purpose of the

class action mechanism is to permit litigation against wrongdoers even when

damages to individual Plaintiffs may not be sufficient to justify individual litigation.

Here, the damages suffered by Plaintiffs and the Class are relatively small compared

to the burden and expense required to individually litigate their claims against

Equifax, and thus, individual litigation to redress Equifax’s wrongful conduct would

be impracticable. Individual litigation by each Class member would also strain the

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court system. Individual litigation creates the potential for inconsistent or

contradictory judgments, and increases the delay and expense to all parties and the

court system. By contrast, the class action device presents far fewer management

difficulties and provides the benefits of a single adjudication, economies of scale, and

comprehensive supervision by a single court.

      63.    Injunctive and Declaratory Relief. Class certification is also

appropriate under Fed. R. Civ. P. 23(b)(2) and (c). Defendant, through its uniform

conduct, has acted or refused to act on grounds generally applicable to the Class as a

whole, making injunctive and declaratory relief appropriate to the Class as a whole.

      64.    Likewise, particular issues under Rule 23(c)(4) are appropriate for

certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’

interests therein. Such particular issues include, but are not limited to:

      a.     Whether Equifax failed to timely notify the public of the Breach;

      b.     Whether Equifax owed a legal duty to Plaintiffs and the Class to

             exercise due care in collecting, storing, and safeguarding their PII;

      c.     Whether Equifax’s security measures were reasonable in light of data

             security recommendations, and other measures recommended by data

             security experts;

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      d.        Whether Equifax failed to adequately comply with industry standards

                amounting to negligence;

      e.        Whether Defendant failed to take commercially reasonable steps to

                safeguard the PII of Plaintiffs and the Class members; and,

      f.        Whether adherence to data security recommendations, and measures

                recommended by data security experts would have reasonably

                prevented the Data Breach.

      65.       Finally, all members of the proposed Classes are readily ascertainable.

Equifax has access to information regarding he Data Breach, the time period of the

Data Breach, and which individuals were potentially affected.                 Using this

information, the members of the Class can be identified and their contact information

ascertained for purposes of providing notice to the Class.

                       COUNT I
                     NEGLIGENCE
             (ON BEHALF OF PLAINTIFFS AND
THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND
          THE SEPARATE STATEWIDE CLASSES)

      66.       Plaintiffs restate and reallege Paragraphs 1 through 65 as if fully set

forth herein.

      67.       Upon accepting and storing the PII of Plaintiffs and Class Members in

its computer systems and on its networks, Equifax undertook and owed a duty to

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Plaintiffs and Class Members to exercise reasonable care to secure and safeguard

that information and to use commercially reasonable methods to do so. Equifax

knew that the PII was private and confidential and should be protected as private and

confidential.

      68.       Equifax owed a duty of care not to subject Plaintiffs, along with their

PII, and Class members to an unreasonable risk of harm because they were

foreseeable and probable victims of any inadequate security practices.

      69.       Equifax owed numerous duties to Plaintiffs and to members of the

Nationwide Class, including the following:

      a.        to exercise reasonable care in obtaining, retaining, securing,

                safeguarding, deleting and protecting PII in its possession;

      b.        to protect PII using reasonable and adequate security procedures and

                systems that are compliant with industry-standard practices; and

      c.        to implement processes to quickly detect a data breach and to timely act

                on warnings about data breaches.

      70.       Equifax also breached its duty to Plaintiffs and the Class Members to

adequately protect and safeguard PII by knowingly disregarding standard

information security principles, despite obvious risks, and by allowing unmonitored

and unrestricted access to unsecured PII. Furthering their dilatory practices, Equifax

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failed to provide adequate supervision and oversight of the PII with which they were

and are entrusted, in spite of the known risk and foreseeable likelihood of breach and

misuse, which permitted an unknown third party to gather PII of Plaintiffs and Class

Members, misuse the PII and intentionally disclose it to others without consent.

      71.    Equifax knew, or should have known, of the risks inherent in collecting

and storing PII, the vulnerabilities of its data security systems, and the importance of

adequate security. Equifax knew about numerous, well-publicized data breaches,

including the breach at Experian.

      72.    Equifax knew, or should have known, that their data systems and

networks did not adequately safeguard Plaintiffs’ and Class Members’ PII.

      73.    Equifax breached its duties to Plaintiffs and Class Members by failing

to provide fair, reasonable, or adequate computer systems and data security practices

to safeguard PII of Plaintiffs and Class Members.

      74.    Because Equifax knew that a breach of its systems would damage

millions of individuals, including Plaintiffs and Class members, Equifax had a duty

to adequately protect their data systems and the PII contained thereon.

      75.    Equifax had a special relationship with Plaintiffs and Class members.

Plaintiffs’ and Class members’ willingness to entrust Equifax with their PII was

predicated on the understanding that Equifax would take adequate security

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precautions. Moreover, only Equifax had the ability to protect its systems and the

PII it stored on them from attack.

      76.    Equifax’s own conduct also created a foreseeable risk of harm to

Plaintiffs and Class members and their PII. Equifax’s misconduct included failing

to: (1) secure its systems, despite knowing their vulnerabilities, (2) comply with

industry standard security practices, (3) implement adequate system and event

monitoring, and (4) implement the systems, policies, and procedures necessary to

prevent this type of data breach.

      77.    Equifax also had independent duties under state and federal laws that

required Equifax to reasonably safeguard Plaintiff’s and Class members’ Personal

Information and promptly notify them about the data breach.

      78.    Equifax breached its duties to Plaintiffs and Class members in numerous

ways, including:

      a.     by failing to provide fair, reasonable, or adequate computer systems and

             data security practices to safeguard PII of Plaintiffs and Class members;

      b.     by creating a foreseeable risk of harm through the misconduct

             previously described;




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       c.    by failing to implement adequate security systems, protocols and

             practices sufficient to protect Plaintiffs’ and Class members’ PII both

             before and after learning of the Data Breach;

       d.    by failing to comply with the minimum industry data security standards

             during the period of the Data Breach; and

       e.    by failing to timely and accurately disclose that Plaintiffs’ and Class

             members’ PII had been improperly acquired or accessed.

       79.   Through Equifax’s acts and omissions described in this Complaint,

including Equifax’s failure to provide adequate security and its failure to protect PII

of Plaintiffs and Class members from being foreseeably captured, accessed,

disseminated, stolen and misused, Equifax unlawfully breached its duty to use

reasonable care to adequately protect and secure PII of Plaintiffs and Class members

during the time it was within Equifax possession or control.

       80.   The law further imposes an affirmative duty on Equifax to timely

disclose the unauthorized access and theft of the PII to Plaintiffs and the Class so

that Plaintiffs and Class members can take appropriate measures to mitigate

damages, protect against adverse consequences, and thwart future misuse of their

PII.




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      81.    Equifax breached its duty to notify Plaintiffs and Class Members of the

unauthorized access by waiting many months after learning of the breach to notify

Plaintiffs and Class Members and then by failing to provide Plaintiffs and Class

Members information regarding the breach until September 2017. Instead, its

executives disposed of at least $1.8 million worth of sthares in the company after

Equifax learned of the data breach but before it was publicly announced. To date,

Equifax has not provided sufficient information to Plaintiffs and Class Members

regarding the extent of the unauthorized access and continues to breach its disclosure

obligations to Plaintiffs and the Class.

      82.    Through Equifax’s acts and omissions described in this Complaint,

including Equifax’s failure to provide adequate security and its failure to protect PII

of Plaintiffs and Class Members from being foreseeably captured, accessed,

disseminated, stolen and misused, Equifax unlawfully breached its duty to use

reasonable care to adequately protect and secure PII of Plaintiffs and Class members

during the time it was within Equifax’s possession or control.

      83.    Further, through its failure to provide timely and clear notification of

the Data Breach to consumers, Equifax prevented Plaintiffs and Class Members from

taking meaningful, proactive steps to secure their financial data and bank accounts.




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      84.    Upon information and belief, Equifax improperly and inadequately

safeguarded PII of Plaintiffs and Class Members in deviation of standard industry

rules, regulations, and practices at the time of the unauthorized access. Equifax’s

failure to take proper security measures to protect sensitive PII of Plaintiffs and Class

members as described in this Complaint, created conditions conducive to a

foreseeable, intentional criminal act, namely the unauthorized access of PII of

Plaintiffs and Class members.

      85.    Equifax’s conduct was grossly negligent and departed from all

reasonable standards of care, including, but not limited to: failing to adequately

protect the PII; failing to conduct regular security audits; failing to provide adequate

and appropriate supervision of persons having access to PII of Plaintiffs and Class

members; and failing to provide Plaintiffs and Class members with timely and

sufficient notice that their sensitive PII had been compromised.

      86.    Neither Plaintiffs nor the other Class members contributed to the Data

Breach and subsequent misuse of their PII as described in this Complaint.

      87.    As a direct and proximate cause of Equifax’s conduct, Plaintiffs and the

Class suffered damages including, but not limited to: damages arising from the

unauthorized charges on their debit or credit cards or on cards that were fraudulently

obtained through the use of the PII of Plaintiffs and Class Members; damages arising

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from Plaintiffs’ inability to use their debit or credit cards because those cards were

cancelled, suspended, or otherwise rendered unusable as a result of the Data Breach

and/or false or fraudulent charges stemming from the Data Breach, including but not

limited to late fees charges and foregone cash back rewards; damages from lost time

and effort to mitigate the actual and potential impact of the Data Breach on their

lives including, inter alia, by placing “freezes” and “alerts” with credit reporting

agencies, contacting their financial institutions, closing or modifying financial

accounts, closely reviewing and monitoring their credit reports and accounts for

unauthorized activity, and filing police reports and damages from identity theft,

which may take months if not years to discover and detect, given the far-reaching,

adverse and detrimental consequences of identity theft and loss of privacy. The

nature of other forms of economic damage and injury may take years to detect, and

the potential scope can only be assessed after a thorough investigation of the facts

and events surrounding the theft mentioned above.

                       COUNT II
                  NEGLIGENCE PER SE
             (ON BEHALF OF PLAINTIFFS AND
THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND
          THE SEPARATE STATEWIDE CLASSES)


      88.       Plaintiffs restate and reallege Paragraphs 1 through 65 as if fully set

forth herein.
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      89.      Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or

practice by businesses, such as Equifax, of failing to use reasonable measures to

protect PII. The FTC publications and orders described above also form part of the

basis of Equifax’s duty in this regard.

      90.      Equifax violated Section 5 of the FTC Act by failing to use reasonable

measures to protect PII and not complying with applicable industry standards, as

described in detail herein. Equifax’s conduct was particularly unreasonable given

the nature and amount of PII it obtained and stored, and the foreseeable consequences

of a data breach at a corporation such as Equifax, including, specifically, the immense

damages that would result to Plaintiffs and Class Members.

      91.      Equifax’s violation of Section 5 of the FTC Act constitutes negligence

per se.

      92.      Plaintiffs and Class Members are within the class of persons that the

FTC Act was intended to protect.

      93.      The harm that occurred as a result of the Equifax Data Breach is the type

of harm the FTC Act was intended to guard against.              The FTC has pursued

enforcement actions against businesses, which, as a result of their failure to employ




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reasonable data security measures and avoid unfair and deceptive practices, caused

the same harm as that suffered by Plaintiffs and the Class.

      94.    As a direct and proximate result of Equifax’s negligence per se,

Plaintiffs and the Class have suffered, and continue to suffer, injuries damages arising

from Plaintiffs’ inability to use their debit or credit cards because those cards were

cancelled, suspended, or otherwise rendered unusable as a result of the Data Breach

and/or false or fraudulent charges stemming from the Data Breach, including but not

limited to late fees charges and foregone cash back rewards; damages from lost time

and effort to mitigate the actual and potential impact of the Data Breach on their lives

including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts,

closely reviewing and monitoring their credit reports and accounts for unauthorized

activity, and filing police reports and damages from identity theft, which may take

months if not years to discover and detect, given the far-reaching, adverse and

detrimental consequences of identity theft and loss of privacy.




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                       COUNT III
  WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
                       (“FCRA”)
             (ON BEHALF OF PLAINTIFFS AND
THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND
           THE SEPARATE STATEWIDE CLASSES)

      95.     Plaintiffs restate and reallege Paragraphs 1 through 65 as if fully set

forth here.

      96.     As individuals, Plaintiffs and Class member are consumers entitled to

the protections of the FCRA. 15 U.S.C. § 1681a(c).

      97.     Under the FCRA, a “consumer reporting agency” is defined as “any

person which, for monetary fees, dues, or on a cooperative nonprofit basis, regularly

engages in whole or in part in the practice of assembling or evaluating consumer

credit information or other information on consumers for the purpose of furnishing

consumer reports to third parties . . . .” 15 U.S.C. § 1681a(f).

      98.     Equifax is a consumer reporting agency under the FCRA because, for

monetary fees, it regularly engages in the practice of assembling or evaluating

consumer credit information or other information on consumers for the purpose of

furnishing consumer reports to third parties.

      99.     As a consumer reporting agency, the FCRA requires Equifax to

“maintain reasonable procedures designed to . . . limit the furnishing of consumer

reports to the purposes listed under section 1681b of this title.” 15 U.S.C. § 1681e(a).
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         100. Under the FCRA, a “consumer report” is defined as “any written, oral,

or other communication of any information by a consumer reporting agency bearing

on a consumer’s credit worthiness, credit standing, credit capacity, character, general

reputation, personal characteristics, or mode of living which is used or expected to

be used or collected in whole or in part for the purpose of serving as a factor in

establishing the consumer’s eligibility for -- (A) credit . . . to be used primarily for

personal, family, or household purposes; . . . or (C) any other purpose authorized

under section 1681b of this title.” 15 U.S.C. § 1681a(d)(1). The compromised data

was        a    consumer       report      under        the   FCRA        because      it

was a communication of information bearing on Class members’ credit worthiness,

credit    standing,   credit   capacity,   character,    general   reputation,   personal

characteristics, or mode of living used, or expected to be used or collected in whole

or in part, for the purpose of serving as a factor in establishing the Class members’

eligibility for credit.

         101. As a consumer reporting agency, Equifax may only furnish a consumer

report under the limited circumstances set forth in 15 U.S.C. § 1681b, “and no other.”

15 U.S.C. § 1681b(a). None of the purposes listed under 15 U.S.C. § 1681b permit

credit reporting agencies to furnish consumer reports to unauthorized or unknown

entities, or computer hackers such as those who accessed the Nationwide Class

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members’ PII. Equifax violated § 1681b by furnishing consumer reports to

unauthorized or unknown entities or computer hackers, as detailed above.

      102. Equifax furnished the Nationwide Class members’ consumer reports by

disclosing their consumer reports to unauthorized entities and computer hackers;

allowing unauthorized entities and computer hackers to access their consumer

reports; knowingly and/or recklessly failing to take security measures that would

prevent unauthorized entities or computer hackers from accessing their consumer

reports; and/or failing to take reasonable security measures that would prevent

unauthorized entities or computer hackers from accessing their consumer reports.

      103. The Federal Trade Commission (“FTC”) has pursued enforcement

actions against consumer reporting agencies under the FCRA for failing to “take

adequate measures to fulfill their obligations to protect information contained in

consumer reports, as required by the” FCRA, in connection with data breaches.

      104. Equifax willfully and/or recklessly violated § 1681b and § 1681e(a) by

providing impermissible access to consumer reports and by failing to maintain

reasonable procedures designed to limit the furnishing of consumer reports to the

purposes outlined under section 1681b of the FCRA. The willful and reckless nature

of Equifax’s violations is supported by, among other things, former employees’

admissions that Equifax’s data security practices have deteriorated in recent years,

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and Equifax’s numerous other data breaches in the past. Further, Equifax touts itself

as an industry leader in breach prevention; thus, Equifax was well aware of the

importance of the measures organizations should take to prevent data breaches, and

willingly failed to take them.

      105. Equifax also acted willfully and recklessly because it knew or should

have known about its legal obligations regarding data security and data breaches

under the FCRA. These obligations are well established in the plain language of the

FCRA and in the promulgations of the Federal Trade Commission. See, e.g., 55 Fed.

Reg. 18804 (May 4, 1990), 1990 Commentary On The Fair Credit Reporting Act. 16

C.F.R. Part 600, Appendix To Part 600, Sec. 607 2E. Equifax obtained or had

available these and other substantial written materials that apprised them of their

duties under the FCRA. Any reasonable consumer reporting agency knows or should

know about these requirements. Despite knowing of these legal obligations, Equifax

acted consciously in breaching known duties regarding data security and data

breaches and depriving Plaintiffs and other members of the classes of their rights

under the FCRA.

      106. Equifax’s willful and/or reckless conduct provided a means for

unauthorized intruders to obtain and misuse Plaintiffs’ and Nationwide Class

members’ personal information for no permissible purposes under the FCRA.

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      107. Plaintiffs and the Nationwide Class members have been damaged by

Equifax’s willful or reckless failure to comply with the FCRA. Therefore, Plaintiffs

and each of the Nationwide Class members are entitled to recover “any actual

damages sustained by the consumer . . . or damages of not less than $100 and not

more than $1,000.” 15 U.S.C. § 1681n(a)(1)(A).

      108. Plaintiffs and the Nationwide Class members are also entitled to

punitive damages, costs of the action, and reasonable attorneys’ fees. 15 U.S.C. §

1681n(a)(2) & (3).

                       COUNT IV
 NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
             (ON BEHALF OF PLAINTIFFS AND
THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND
           THE SEPARATE STATEWIDE CLASSES)


      109. Plaintiffs restate and reallege Paragraphs 1 through 65 as if fully set

forth herein.

      110. Equifax was negligent in failing to maintain reasonable procedures

designed to limit the furnishing of consumer reports to the purposes outlined under

section 1681b of the FCRA. Equifax’s negligent failure to maintain reasonable

procedures is supported by, among other things, former employees’ admissions that

Equifax’s data security practices have deteriorated in recent years, and Equifax’s

numerous other data breaches in the past. Further, as an enterprise claiming to be an
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industry leader in data breach prevention, Equifax was well aware of the importance

of the measures organizations should take to prevent data breaches, yet failed to take

them.

        111. Equifax’s negligent conduct provided a means for unauthorized

intruders

to obtain Plaintiffs’ and the Nationwide Class members’ PII and consumer reports

for no permissible purposes under the FCRA.

        112. Plaintiffs and the Nationwide Class member have been damaged by

Equifax’s negligent failure to comply with the FCRA. Therefore, Plaintiffs and each

of the Nationwide Class member are entitled to recover “any actual damages

sustained by the consumer.” 15 U.S.C. § 1681o(a)(1).

        113. Plaintiffs and the Nationwide Class member are also entitled to recover

their costs of the action, as well as reasonable attorneys’ fees. 15 U.S.C. §

1681o(a)(2).

                       COUNT V
               DECLARATORY JUDGMENT
             (ON BEHALF OF PLAINTIFFS AND
THE NATIONWIDE CLASS, OR, ALTERNATIVELY, PLAINTIFFS AND
          THE SEPARATE STATEWIDE CLASSES)


        114. Plaintiffs restate and reallege Paragraphs 1 through 65 as if fully set

forth herein.
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      115. As previously alleged, Plaintiffs and Class members entered into an

implied contract that required Equifax to provide adequate security for the PII it

collected from their payment card transactions. As previously alleged, Equifax owes

duties of care to Plaintiffs and Class members that require it to adequately secure PII.

      116. Equifax still possesses PII pertaining to Plaintiffs and Class members.

      117. Equifax has made no announcement or notification that it has remedied

the vulnerabilities in its computer data systems, and, most importantly, its systems.

      118. Accordingly, Equifax has not satisfied its contractual obligations and

legal duties to Plaintiffs and Class members. In fact, now that Equifax’s lax approach

towards data security has become public, the PII in its possession is more vulnerable

than previously.

      119. Actual harm has arisen in the wake of the Equifax Data Breach

regarding Equifax’s contractual obligations and duties of care to provide data security

measures to Plaintiffs and Class members.

      120. Plaintiffs, therefore, seek a declaration that (a) Equifax’s existing data

security measures do not comply with its contractual obligations and duties of care,

and (b) in order to comply with its contractual obligations and duties of care, Equifax

must implement and maintain reasonable security measures, including, but not

limited to:

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a.   engaging third-party security auditors/penetration testers as well as

     internal security personnel to conduct testing, including simulated

     attacks, penetration tests, and audits on Equifax’s systems on a periodic

     basis, and ordering Equifax to promptly correct any problems or issues

     detected by such third-party security auditors;

b.   engaging third-party security auditors and internal personnel to run

     automated security monitoring;

c.   auditing, testing, and training its security personnel regarding any new

     or modified procedures;

d.   segmenting PII by, among other things, creating firewalls and access

     controls so that if one area of Equifax is compromised, hackers cannot

     gain access to other portions of Equifax systems;

e.   purging, deleting, and destroying in a reasonable secure manner PII not

     necessary for its provisions of services;

f.   conducting regular database scanning and securing checks;

g.   routinely and continually conducting internal training and education to

     inform internal security personnel how to identify and contain a breach

     when it occurs and what to do in response to a breach; and




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      h.        educating its customers about the threats they face as a result of the loss

                of their financial and personal information to third parties, as well as the

                steps Equifax customers must take to protect themselves.

                           COUNT VI
      VIOLATION OF GEORGIA FAIR BUSINESS PRACTICES ACT
                   O.C.G.A. § 10-1-390, ET SEQ.
                (ON BEHALF OF PLAINTIFFS AND
                   THE NATIONWIDE CLASS)

      121. Plaintiffs restate and reallege Paragraphs 1 through 65 as if fully set

forth herein.

      122. Equifax is engaged in, and their acts and omissions affect, trade and

commerce pursuant to O.C.G.A. § 10-1-392(28).

      123. As discussed above, Equifax’s acts, practices, and omissions at issue in

this matter were directed and emanated from its headquarters in Georgia.

      124. Plaintiffs and Class members entrusted Equifax with their PII.

      125. As alleged herein this Complaint, Equifax engaged in unfair or

deceptive acts or practices in the conduct of consumer transactions, including the

following, in violation of the GFBPA:

      a.        failure to maintain adequate computer systems and data security

                practices to safeguard PII;




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      b.     failure to disclose that its computer systems and data security practices

             were inadequate to safeguard PII from theft;

      c.     failure to timely and accurately disclose the Data Breach to Plaintiffs

             and Class members;

      d.     continued acceptance of PII and storage of other personal information

             after Equifax knew or should have known of the security vulnerabilities

             of the systems that were exploited in the Data Breach; and

      e.     continued acceptance of PII and storage of other personal information

             after Equifax knew or should have known of the Data Breach and before

             it allegedly remediated the Breach.

      126. Furthermore, as alleged above, Equifax’s failure to secure consumers’

PII violates the FTCA and therefore violates the GFBPA.

      127. Equifax knew or should have known that its computer systems and data

security practices were inadequate to safeguard the PII of Plaintiffs and Class

members, deter hackers, and detect a breach within a reasonable time, and that the

risk of a data breach was highly likely.

      128. As a direct and proximate result of Equifax’s violation of the GFBPA,

Plaintiffs and Class members suffered damages including, but not limited to:

damages arising from the unauthorized charges on their debit or credit cards or on

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cards that were fraudulently obtained through the use of the PII of Plaintiffs and

Class Members; damages arising from Plaintiffs’ inability to use their debit or credit

cards or accounts because those cards or accounts were cancelled, suspended, or

otherwise rendered unusable as a result of the Data Breach and/or false or fraudulent

charges stemming from the Data Breach, including but not limited to late fees

charges and foregone cash back rewards; damages from lost time and effort to

mitigate the actual and potential impact of the Data Breach on their lives including,

inter alia, by placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts,

closely reviewing and monitoring their credit reports and accounts for unauthorized

activity, and filing police reports and damages from identity theft, which may take

months if not years to discover and detect, given the far-reaching, adverse and

detrimental consequences of identity theft and loss of privacy. The nature of other

forms of economic damage and injury may take years to detect, and the potential

scope can only be assessed after a thorough investigation of the facts and events

surrounding the theft mentioned above.

      129. Also as a direct result of Equifax’s knowing violation of the GFBPA,

Plaintiffs and Class members are entitled to damages as well as injunctive relief,

including, but not limited to:

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a.   Ordering that Equifax engage third-party security auditors/penetration

     testers as well as internal security personnel to conduct testing,

     including simulated attacks, penetration tests, and audits on Equifax’s

     systems on a periodic basis, and ordering Equifax to promptly correct

     any problems or issues detected by such third-party security auditors;

b.   Ordering that Equifax engage third-party security auditors and internal

     personnel to run automated security monitoring;

c.   Ordering that Equifax audit, test, and train its security personnel

     regarding any new or modified procedures;

d.   Ordering that Equifax segment PII by, among other things, creating

     firewalls and access controls so that if one area of Equifax is

     compromised, hackers cannot gain access to other portions of Equifax

     systems;

e.   Ordering that Equifax purge, delete, and destroy in a reasonable secure

     manner PII not necessary for its provisions of services;

f.   Ordering that Equifax conduct regular database scanning and securing

     checks;

g.   Ordering that Equifax routinely and continually conduct internal

     training and education to inform internal security personnel how to

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             identify and contain a breach when it occurs and what to do in response

             to a breach; and

      h.     Ordering Equifax to meaningfully educate its customers about the

             threats they face as a result of the loss of their financial and personal

             information to third parties, as well as the steps Equifax customers must

             take to protect themselves.

      130. Plaintiffs bring this action on behalf of themselves and Class Members

for the relief requested above and for the public benefit in order to promote the public

interests in the provision of truthful, fair information to allow consumers to make

informed purchasing decisions and to protect Plaintiffs and Class members and the

public from Equifax’s unfair methods of competition and unfair, deceptive,

fraudulent, unconscionable and unlawful practices. Equifax’s wrongful conduct as

alleged in this Complaint has had widespread impact on the public at large.

      131. Plaintiffs and Class members are entitled to a judgment against

EQUIFAX for actual and consequential damages, exemplary damages and attorneys’

fees pursuant to the GFBPA, costs, and such other further relief as the Court deems

just and proper.




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                              REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of all Class members

proposed in this Complaint, respectfully request that the Court enter judgment in

their favor and against EQUIFAX as follows:

      a.    For an Order certifying the Classes, as defined herein, and appointing

            Plaintiffs and their Counsel to represent the Nationwide Class, or in the

            alternative the separate Statewide Classes;

      b.    For equitable relief enjoining Equifax from engaging in the wrongful

            conduct complained of herein pertaining to the misuse and/or

            disclosure of Plaintiffs’ and Class members’ PII, and from refusing to

            issue prompt, complete and accurate disclosures to the Plaintiffs and

            Class members;

      c.    For equitable relief compelling Equifax to use appropriate cyber

            security methods and policies with respect to consumer data collection,

            storage and protection and to disclose with specificity to Class members

            the type of PII compromised;

      d.    For an award of damages, as allowed by law in an amount to be

            determined;




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     e.    For an award of attorneys’ fees costs and litigation expenses, as

           allowable by law;

     f.    For prejudgment interest on all amounts awarded; and

     g.    Such other and further relief as this court may deem just and proper.

                           JURY TRIAL DEMAND

              Plaintiffs demands a jury trial on all issues so triable.

This 7th day of September 2017


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                                  * Pro Hac Vice

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